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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                       KEY WEST DIVISION
                          CASE NO.: 4:20-cv-10076-JLK/BECERRA


 KEY WEST BAR PILOTS ASSOCIATION
 and PIER B DEVELOPMENT CORP,
 a Florida corporation,

        Plaintiffs,

 v.

 R. JOYCE GRIFFIN, in her official capacity as
 SUPERVISOR OF ELECTIONS FOR MONROE
 COUNTY, FLORIDA; the CITY OF KEY WEST,
 FLORIDA, a municipal corporation of the State of
 Florida; and KEY WEST COMMITTEE FOR SAFER,
 CLEANER SHIPS, INC., a Florida non-profit
 corporation,

       Defendants.
 _____________________________________________/

          ORDER GRANTING DEFENDANT KEY WEST COMMITTEE, INC.’s
                    MOTION FOR SUMMARY JUDGMENT

        On August 12, 2020, the Court conducted a properly noticed hearing by Zoom regarding

 cross-motions for summary judgment filed by plaintiffs, Key West Bar Pilots Association (“Bar

 Pilots”) and Pier B Development Corp. (“Pier B”), and defendant, Key West Committee for Safer,

 Cleaner Ships, Inc. (the “Key West Committee”). Plaintiffs’ motion for summary judgment sought

 on constitutional and statutory grounds to remove three (3) citizen-sponsored Initiatives from the

 December 3, 2020 ballot. Those Initiatives seek to add three (3) provisions to the City of Key West

 Charter. The Key West Committee’s motion for summary judgment sought dismissal of plaintiffs’
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 entire action for lack of justiciability under Article III of the U.S. Constitution and related prudential

 reasons.

         The parties agreed that the Key West Committee’s motion for summary judgment raised

 “threshold” issues of Article III justiciability; therefore, the Court first dealt with that motion. The

 Court carefully considered the parties’ respective written submissions regarding the Key West

 Committee’s motion for summary judgment (ECF Nos. 40, 41, 42, 52 and 53), reviewed the

 extensive case law cited by the parties, did its own research, and heard extended oral argument from

 counsel for the parties.

         As announced on the record at the conclusion of the August 12th hearing, the Court is

 persuaded that as a matter of undisputed fact and law, the Key West Committee carried its burden

 entitling it to summary judgment. Specifically, the Court found that, because cruise ship operations

 into Key West ceased in mid-March 2020 under a CDC “No Sail” Order implemented in response

 to the COVID-19 pandemic, and because those cruise ship operations will not resume until October

 31, 2020 at the earliest, plaintiffs cannot show that they will be causally injured by mere inclusion

 of the three (3) citizen Initiatives on the November 3, 2020 ballot (which may or may not receive

 voter approval). Under these circumstances, plaintiffs have not met their burden of demonstrating

 injury that is (a) “concrete” and “particularized,” and (b) “actual” or “imminent,” not merely

 “conjectural” or “hypothetical” under Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992).

 Thus, plaintiffs fail to satisfy Article III standing requirements, the declaratory and injunctive relief

 sought by plaintiffs is not constitutionally “ripe” for decision, and would constitute an advisory

 opinion.

         For these reasons, it is ORDERED AND ADJUDGED as follows:


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        1. The Key West Committee’s motion for summary judgment is GRANTED, and this action

 is hereby dismissed without prejudice.

 Since this case is dismissed based on Article III justiciability grounds, the Court need not, and
 does not, reach the issues raised in plaintiffs’ motion for summary judgment

        DONE AND ORDERED in chambers at the James Lawrence King Federal Justice

 Building and United States Courthouse, Miami, Florida, this 18 th day of August, 2020.




                                                       JAMES LAWRENCE KING
                                                       UNITED STATES DISTRICT JUDGE


 cc:    All Counsel of Record




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